                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )
                                              )        Case No. 1:10-CR-110
        v.                                    )
                                              )         Chief Judge Curtis L. Collier
 ADAM HUNNICUTT A/K/A “CUTT”                  )


                                            ORDER

        On November 29, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Counts One

 and Two of the Indictment; (b) the Court adjudicate Defendant guilty of the charges set forth in

 Counts One and Two of the Indictment; and (c) Defendant shall remain in custody pending

 sentencing in this matter (Court File No. 392). Neither party filed an objection within the given

 fourteen days. After reviewing the record, the Court agrees with the magistrate judge=s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

 report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to Counts One and Two of the Indictment is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

 Two of the Indictment; and

        (3) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

 March 8, 2012, at 2:00 pm.

        SO ORDERED.

        ENTER:

                                              /s/
                                              CURTIS L. COLLIER
                                              CHIEF UNITED STATES DISTRICT JUDGE



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